UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
MARTIN JONATHAN BATALlA VIDAL, et al.,
                               Plaintiffs,                               ORDER
                                                              16-CV-4756 (NGG) (VMS)
                 -against-
CHAD WOLF, et al.,
                     Defendants.
STATE OF NEW YORK, et al.,
                               Plaintiffs,                    17-CV-5228 (NGG) (VMS)

                 -against-
DONALD TRUMP, et al.,
                               Defendants.


      NICHOLAS G. GARAUFIS, United States District Judge.
     The court held a status conference on December 10, 2020 to con-
     sider outstanding issues addressed by the parties in their Joint
     Status Report (Dkt. 35 7) .1 Having considered the positions of the
     parties, the court ordered the following.
             1) The Government is DIRECTED to circulate draft lan-
                guage for individual notices to Plaintiffs no later than
                11:59 pm on December 10, 2020. Plaintiffs are DI-
                RECTED to register any significant substantive concerns
                with the court that have not been resolved by negotia-
                tion, by 5:00 pm on Friday, December 11, 2020.
             2) The Government is DIRECTED to mail the individual no-
                tices, as described in the Joint Status Report, on or before
                January 8, 2021, and to notify the court when they have
                done so.


      1   Docket cites refer to the Batalla Vidal v. Wolf case, 16-cv-4756.




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            3) The Government is DIRECTED to mail new Employment
               Authorization Documents (EADs), with expiration dates
               that reflect the lawful two-year period for which they
               should have been issued, no later than 30 days before the
               unlawful expiration dates with which they were issued,
               and at no additional cost to the recipient.
         The Government's obligation to respond to the Amended Com-
         plaints is stayed pending a further order of the court.


SO ORDERED.


Dated:      Brooklyn, New York
            December 10, 2020

                                                   /s/ Nicholas G. Garaufis
                                                  NICHOLAS G. GARAUFIS
                                                  United States District Judge




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